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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


CONTINENTAL CASUALTY                              §
COMPANY, VALLEY FORGE                             §
INSURANCE COMPANY, NATIONAL                       §                 SA-20-CV-00768-FB
FIRE INSURANCE COMPANY OF                         §
HARTFORD,                                         §
                                                  §
                   Plaintiffs,                    §
                                                  §
vs.                                               §
                                                  §
BLACKHAWK VENTURES, LLC,                          §
MICHAEL WIEBRACHT, STEVEN                         §
WIEBRACHT, FEDERAL                                §
MANAGEMENT SOLUTIONS, WPS                         §
GROUP, LLC,                                       §
                                                  §
                   Defendants.                    §

                                 AMENDED SCHEDULING ORDER

       Before the Court is the Plaintiffs’ Motion to Modify Deadlines [#21], unopposed by

Defendants, by which the parties ask the Court for an extension of deadlines in the governing

scheduling order. The Court will grant the motion.

       IT IS THEREFORE ORDERED that the Plaintiffs’ Motion to Modify Deadlines [#21]

is GRANTED.

       IT IS FURTHER ORDERED that the following Amended Scheduling Order is issued

to control the remaining course of this case:

       1. All parties asserting claims for relief shall file their designation of testifying experts

and shall serve on all parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by

March 1, 2021. Parties resisting claims for relief shall file their designation of testifying experts

and shall serve on all parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by




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March 19, 2021. All designations of rebuttal experts shall be filed within 14 days of receipt of

the report of the opposing expert.

       2. An objection to the reliability of an expert’s proposed testimony under Federal Rule

of Evidence 702 shall be made by motion, specifically stating the basis for the objection and

identifying the objectionable testimony, within 30 days of receipt of the written report of the

expert’s proposed testimony, or within 30 days of the expert’s deposition, if a deposition is

taken, whichever is later.

       3. The parties shall complete all discovery on or before April 2, 2021. Counsel may by

agreement continue discovery beyond the deadline, but there will be no intervention by the Court

except in extraordinary circumstances, and no trial setting will be vacated because of information

obtained in post-deadline discovery.

       4. All dispositive motions as defined in Local Rule CV-7(c) shall be filed no later than

May 7, 2021. Dispositive motions and responses to dispositive motions shall be limited to 20

pages in length. Replies, if any, shall be limited to 5 pages in length in accordance with Local

Rule CV-7(f).

       It is so ORDERED.

       SIGNED this 12th day of January, 2021.




                                       ELIZABETH S. ("BETSY") CHESTNEY
                                       UNITED STATES MAGISTRATE JUDGE




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